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                                                    March 12, 2021

VIA ECF
Hon. Analisa Torres
United States District Judge
Southern District of New York
500 Pearl Street
New York, NY 10007

Re:    SEC v. Ripple Labs, Inc. et al., No. 20-cv-10832 (AT) (S.D.N.Y.)

Dear Judge Torres:

Plaintiff Securities and Exchange Commission (“SEC”) and the Individual Defendants in this
case, Christian A. Larsen and Bradley Garlinghouse, have reached agreement regarding a
proposed schedule for briefing the Individual Defendants’ motions to dismiss. See D.E. 49, 50
(Individual Defendants’ pre-motion letters); 55, 56 (SEC’s responsive letters).

The parties respectfully propose that the Individual Defendants’ opening briefs be due April 12,
2021, the SEC’s brief(s) in opposition be due May 14, 2021, and the Individual Defendants’
reply briefs be due June 4, 2021.

                                                    Respectfully submitted,


                                                    Jorge G. Tenreiro
cc:    All counsel (via ECF only)
